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AO 104 (Rev. 11/13) Tracking Warrant


                                           UNITED STATES DISTRICT COURT
                                                                            for the
                                                                  Southern District of Ohio

               In the Matter of the Tracking of                               )
       (Identify the person, property, or object to be tracked)               )
                                                                                      Case No. 2:22-mj-766
   2006 Gray BMW X5, Ohio License Plate GIM8325, VIN:      )
  5UXFA13596LY42717, Titled to Patricia Burke, 4460 Keeler )
              Drive, Columbus, Ohio 43227                  )
                                                           )

                                                            TRACKING WARRANT

To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government shows there is reason to believe
that the person, property, or object described above has been involved in and likely will continue to be involved in the criminal
activity identified in the application, and &!f is located in this district; Dis not now located in this district, but will be at
execution; 0 the activity in this district relates to domestic or international terrorism;  □ other:


          I find that the affidavit(s), and any recorded testimony, establish probable cause to believe that
(check the appropriate box) □ using the object        0 installing and using a tracking device
to monitor the location of the person, property, or object will satisfy the purpose set out in Fed. R. Crim. P. 41(c) for
issuing a warrant.
    ~ I find entry into the following vehicle or onto the following private property to be necessary without approval
or knowledge of the owner, custodian, or user of the vehicle or property for installing, maintaining, and removing the tracking
device: The driveway of 4460 Keeler Drive, Columbus, Ohio 43227




        YOU ARE COMMANDED to execute this warrant and begin using the object or installing the tracking device by
 12/15/2022
- - - - - - - - - - (not to exceed ten days) and may continue use for           45      days (not to exceed 45). The tracking may occur
within this district or another district. To install, maintain, or remove the device, you may enter (check boxes as appropriate)
0 into the vehicle described above                   0 onto the private property described above
0 in the daytime 6:00 a.m. to 10:00 p.m. ~ at any time in the day or night because good cause has been established.

        Within 10 calendar days after the use of the tracking device has ended, the officer executing this warrant must both
return it to (United States Magistrate Judge) Chelsey M. Vascura                                    and - unless delayed notice
is authorized below - serve a copy of the warrant on the person who, or whose property or object, was tracked.
    ~ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property or object, will be tracked (check the appropriate box)
    0 for       30        days (not to exceed 30) □ until, the facts justifying, the later specific date of


Date and time issued:         12/5/2022 at 9:32am

                                                                                              ; Ma
City and state:      Columbus, Ohio                                                     Chelsey M.                  Judge
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Case No.


                                                Return of Tracking Warrant With Installation

1.   Date and time tracking device installed:

2.   Dates and times tracking device maintained:

3.   Date and time tracking device removed:

4.   The tracking device was used from (date and time):

      to (date and time):



Return of Tracking Warrant Without Installation

1. Date warrant executed:

2. The tracking information was obtained from (date and time):

     to (date and time):



Certification

I declare under the penalty of perjury that this return is correct and was returned along with the original warrant to the designated
judge.



Date: - - - - - - - - - - -
                                                                                 Executing officer's signature



                                                                                    Printed name and title
